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                                            November 27, 2017

Via ECF

Hon. Barbara Moses
United States Magistrate Judge
United States District Court
500 Pearl Street
New York, NY 10007

                                            Re:      17-cv-2176 Alberto Martinez Hernandez, et al v.
                                                     East Wingers Inc., et al.

Dear Judge Moses:

       This firm represents Plaintiffs in the above-referenced matter (the “Action”). We write
with the consent of Defendants’ counsel to respectfully request an adjournment of the settlement
conference presently scheduled for December 4, 2017. This is the first request of its kind.

        The reason for the request is that Defendants have not yet produced wage and hour
records. Defendants’ counsel has moved to withdraw and is awaiting the Court’s decision.
Plaintiffs’ counsel has requested responses to Plaintiffs’ discovery requests, but Defendants’
counsel has informed the undersigned that the Defendants have failed to give her any documents,
despite the fact that she has requested them from the Defendants on multiple occasions.
Accordingly, the parties do not believe that a settlement conference would be productive at this
time and respectfully request an adjournment of the settlement conference presently scheduled
for December 4, 2017.

        We thank the Court for its time and attention to this matter.

                                                             Respectfully Submitted,


                                                             /s/Sara Isaacson
                                                             Sara Isaacson, Esq.



cc: Valerie Ferrier, Esq. (Via ECF)




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